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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA                  §
                                            §          No. 4:21CR48
  v.                                        §          Judge Mazzant
                                            §
  SHANLIN JIN                               §

                         PRELIMINARY ORDER OF FORFEITURE

         Defendant entered a guilty plea to Count Three of the Indictment, filed on

 February 24, 2021. Pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3), the government

 requests that Defendant’s right, title, and interest to the following be forfeited to the

 United States:

                 a.      Alienware desktop computer, bearing service tag # 99FF4Z2;

                 b.      Samsung 1TB solid state drive, bearing serial number
                         S599NE0M8284712;

                 c.      Toshiba 1024GB NVMe storage device, bearing serial number
                         79PA21RXK6CN;

                 d.      Western Digital 6TB hard drive, bearing serial number V8HJK6VR;
                         and

                 e.      Samsung 250GB solid state drive, bearing serial number
                         S3YHNGAJC09887T.

         The United States is now entitled to possession of the above-referenced property

 pursuant to 18 U.S.C. §§ 2253(a)(1) and (a)(3), and Fed. R. Crim. P. 32.2.

         Accordingly, the Court orders that:

         1.      Based upon the plea of Defendant and the findings entered by the Court, the

 United States is hereby authorized to seize the aforementioned property. The property is


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 forfeited to the United States for disposition in accordance with the law, subject to the

 provisions of Rule G(4)(a)(i) of the Supplemental Rules for Admiralty or Maritime and

 Asset Forfeiture Claims.

           2.      The forfeited property is to be held by the custodial agency, its agents, and

 vendors in their custody and control.

           3.      Pursuant to 21 U.S.C. § 853(n)(1), Supplemental Rule G(4)(a)(vi)(C), and

 the Attorney General’s authority to determine the manner of publication of an order of

 forfeiture in a criminal case, the United States shall publish for at least thirty (30)

 consecutive days at www.forfeiture.gov notice of this Preliminary Order of Forfeiture,

 notice of the United States’ intent to dispose of the property in such manner as the

 Attorney General may direct, and notice that any person, other than Defendant, 1 having

 or claiming a legal interest in the above-described forfeited property must file a petition

 with the court no later than sixty (60) days after the first day of publication on an official

 Internet government forfeiture site, or within thirty (30) days of receipt of direct notice,

 whichever is earlier.

                   a.     The notice shall: (1) state that the petition shall be for a hearing to

 adjudicate the validity of the petitioner’s alleged interest in the property; (2) be signed by




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     21 U.S.C. § 853(n)(2) provides that:
           Any person, other than the Defendant, asserting a legal interest in property which has
           been ordered forfeited to the United States pursuant to this section may, within thirty
           days of the final publication of notice or his receipt of notice under paragraph (1),
           whichever is earlier, petition the court for a hearing to adjudicate the validity of his
           alleged interest in the property. The hearing shall be held before the court alone, without
           a jury.
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 the petitioner under penalty of perjury; and (3) set forth the nature and extent of the

 petitioner’s right, title, or interest in the forfeited property, the time and circumstances of

 the petitioner’s acquisition of the right, title, or interest in the property, any additional

 facts supporting the petitioner’s claim, and the relief sought.

                 b.      The United States may also, to the extent practicable, provide direct

 written notice to any person known to have alleged an interest in the property that is the

 subject of the order of forfeiture as a substitute for published notice as to those persons so

 notified.



             SIGNED this 6th day of January, 2022.




                                            ___________________________________
                                            Christine A. Nowak
                                            UNITED STATES MAGISTRATE JUDGE




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